
996 A.2d 166 (2010)
In the Matter of Jon A. MILLS.
No. 2010-202 M.P.
Supreme Court of Rhode Island.
June 1, 2010.
David Curtin, Disciplinary Counsel.
Mark L. Smith, North Smithfield.

ORDER
On April 21, 2010, pursuant to Article III, Rule 13 of the Supreme Court Rules of Disciplinary Procedure, the respondent filed an affidavit with this Court's Disciplinary Board setting forth that he is aware he is the subject of an investigation of professional misconduct. The respondent's affidavit sets forth that he freely and voluntarily consents to disbarment and that he is fully aware of the implications of submitting his consent. On May 18, 2010, Disciplinary Counsel filed the respondent's affidavit with the Court.
Upon review of the respondent's affidavit, we deem that an order disbarring the respondent is appropriate.
Accordingly, pursuant to Article III, Rule 13, it is hereby ordered, adjudged and decreed, that the respondent, Jon A. Mills, be and he is hereby disbarred on consent from engaging in the practice of law.
